Case 7:24-cv-00279-ADA   Document 1-3   Filed 11/04/24   Page 1 of 23




        Exhibit C
       Case 7:24-cv-00279-ADA                         Document 1-3             Filed 11/04/24            Page 2 of 23

                                                                                           US010810579B2


( 12 ) Wyatt
       United States Patent                                          ( 10 ) Patent No.: US 10,810,579 B2
                                                                     (45 ) Date of Patent :   Oct. 20 , 2020
( 54 ) SMART TOKENIZING PAYMENT CARD AND                                                     GO6Q 20/409 ; GO6Q 20/352 ; GO6Q
       DEVICE AND TRANSACTION PROCESSING                                                     20/24; G06Q 20/385 ; G06Q 20/347 ;
       THEREOF, SYSTEM AND METHOD                                                             G06Q 20/223 ; GO6Q 20/06 ; GO6K
                                                                                               19/07749 ; G06K 19/0716 ; GOOK
( 71 ) Applicant: Virtual Electric Inc. , San Jose , CA                                   19/06206 ; G07F 7/0873 ; G07F 19/00
                  (US )                                                    See application file for complete search history.
( 72 ) Inventor : David Wyatt, San Jose , CA (US )               ( 56 )                    References Cited
( 73 ) Assignee : Virtual Electric Inc. , San Jose , CA                             U.S. PATENT DOCUMENTS
                  ( US )
                                                                          9,292,849 B2 *    3/2016 Kurian           G06Q 20/385
( * ) Notice :    Subject to any disclaimer, the term of this             9,646,300 B1 *
                                                                  2013/0159186 A1 *
                                                                                            5/2017 Zhou
                                                                                            6/2013 Brudnicki
                                                                                                                   G06Q 20/3224
                                                                                                                    H04W 12/06
                  patent is extended or adjusted under 35                                                               705/44
                   U.S.C. 154 ( b ) by 0 days.
                                                                 * cited by examiner
( 21 ) Appl. No .: 16 /459,150
                                                                 Primary Examiner Seung H Lee
(22 ) Filed :      Jul . 1 , 2019
                                                                 ( 57 )                      ABSTRACT
( 65 )                Prior Publication Data
                                                                 An embodiment includes a credit card device capable of
      US 2019/0325428 A1             Oct. 24 , 2019              generating a programmed magnetic field of alternating
              Related U.S. Application Data                      polarity based on a speed of a card swipe , and methods for
                                                                 constructing the device for the purpose of emulating a
( 60 ) Continuation of application No. 15 / 701,261 , filed on   standard credit card . An apparatus is described to allow said
       Sep. 11 , 2017 , now Pat. No. 10,339,520 , which is a     device to emulate behavior of a credit card when used in
                           ( Continued )                         electronic credit card readers. Additionally methods are
                                                                 described to allow user control of said device for the purpose
( 51 ) Int. Ci.                                                  of authorizing or controlling use of said device in the
      G06Q 20/34                 (2012.01 )                      application of credit , debit and cash transactions, including
       G07F 19/00                ( 2006.01 )                     cryptocurrency and card - to - card transactions. Methods are
                           (Continued )                          also described for generating a limited -duration credit card
( 52) U.S. Cl.                                                   number when performing a transaction for the purpose of
       CPC        G06Q 20/341 (2013.01 ) ; G06K 19/06206         creating a limited -use credit card number, which is limited
                       (2013.01 ) ; G06K 19/0716 ( 2013.01 ) ;
                                                                 in scope of use to a predetermined number of authorized
                                                                 transactions . Furthermore said device may interact with
                         ( Continued )                           other similar devices in proximity for the purpose of funds
( 58 ) Field of Classification Search                            or credit /debit transfers .
       CPC            G06Q 20/341 ; G06Q 20/4012 ; GO6Q
                     20/3827 ; G06Q 20/346 ; G06Q 20/065 ;                          23 Claims , 7 Drawing Sheets



                                                                                                                   401
                                                                                                        470


                                                                               Il


                                                                                                    -

                                                                                             450b
        Case 7:24-cv-00279-ADA                          Document 1-3       Filed 11/04/24   Page 3 of 23


                                                        US 10,810,579 B2
                                                                 Page 2

              Related U.S. Application Data
       continuation of application No. 14 / 981,757 , filed on
       Dec. 28 , 2015 , now Pat . No. 9,760,884 , which is a
       continuation of application No. 14 / 680,979 , filed on
       Apr. 7 , 2015 , now Pat . No. 9,224,083 , which is a
       division of application No. 14 /217,261 , filed on Mar.
        17 , 2014 , now Pat . No. 9,022,286 .
( 60 ) Provisional application No. 61 / 794,891 , filed on Mar.
        15 , 2013 .
( 51 ) Int . CI .
       GO6Q 20/06                  ( 2012.01 )
       G06Q 20/22                  ( 2012.01 )
       G06Q 20/38                  ( 2012.01 )
       GO7F 7/08                   ( 2006.01 )
       G06K 19/06                  ( 2006.01 )
       G06K 19/07                  ( 2006.01 )
       G06K 19/077                 ( 2006.01 )
       G06Q 20/24                  ( 2012.01 )
       G06Q 20/40                  ( 2012.01 )
( 52 ) U.S. Cl .
       CPC               G06K 19/07749 (2013.01 ) ; G06Q 20/06
                      (2013.01 ) ; G06Q 20/065 ( 2013.01 ) ; G06Q
                      20/223 ( 2013.01 ) ; G06Q 20/24 ( 2013.01 ) ;
                          G06Q 20/346 (2013.01 ) ; G06Q 20/347
                      (2013.01 ) ; G06Q 20/352 ( 2013.01 ) ; G06Q
                    20/385 (2013.01 ) ; G06Q 20/3827 ( 2013.01 ) ;
                         G06Q 20/409 ( 2013.01 ) ; G06Q 20/4012
                      ( 2013.01 ) ; GO7F 770873 ( 2013.01 ) ; GO7F
                                                  19/00 (2013.01 )
   Case 7:24-cv-00279-ADA    Document 1-3            Filed 11/04/24   Page 4 of 23


U.S. Patent       Oct. 20 , 2020
                         9            Sheet 1 of 7                US 10,810,579 B2




                                        130


                                               101

                                         155




                                        120




                                   FIG . 1
   Case 7:24-cv-00279-ADA                          Document 1-3                          Filed 11/04/24          Page 5 of 23


U.S. Patent                       Oct. 20 , 2020
                                           9                      Sheet 2 of 7                           US 10,810,579 B2


                                                                                                         230


                                                   Optical sensor array
                                                                                                                       225




                                                                                                                       220

                                                            207                                 209
                                                                     Memory
                                      Interface
          Motion 210
         Detection                                                   Processor

                                                240
                                      Real- Time                          Touch Sensor                Power
                                        Clock                                    Array                Source
                                                                                          245                  255
                                                           Display                        250



          235                                                                                                    235

                                                   FIG . 2A
      2016
                                                                                                         230



                                                   Optical sensor array
                                CCCCL
                                                                                                                       225




                                                                                                                       220
                                                            207                                 209
                                                  215                Memory
                                      Interface                                                                260
         Motion 210
         Detection                                                   Processor
                                                                                    205                   RFID
                                                                                                               265
                                                  240
                                      Real- Time                          Touch Sensor                Power
             USB                        Clock                                    Array                Source
                                                                                          245                  255
                     Galvanic
                     sensor
                                                           Display                        250



                                275
          235

                                                   FIG . 2B
   Case 7:24-cv-00279-ADA       Document 1-3         Filed 11/04/24        Page 6 of 23


U.S. Patent        Oct. 20 , 2020
                           9              Sheet 3 of 7                US 10,810,579 B2




       280



                                                                                282

               display a plurality of accounts stored by a memory comprised by
                                     a credit card device




                                                                                284
                  receive an indication of a selection of an account from the
                                     plurality of accounts



                                                                                286
                   configure the credit card device to perform a transaction
                 according to user data associated with the selected account



                 encode a planar coil of the credit card device with a limited
                 duration credit number associated with the selected account


                                        FIG . 20
   Case 7:24-cv-00279-ADA         Document 1-3          Filed 11/04/24        Page 7 of 23


U.S. Patent         Oct. 20 , 2020
                             9              Sheet 4 of 7                 US 10,810,579 B2




       300




                                   is a standard magnetic card
                                      reader detected to be in
                                            proximity ?


                                                   YES

                                                                                  303
                 Detect a movement rate at which the body of the credit card
                device is moving relative to the standard magnetic card reader


                                                                                  305
              Generate a magnetic field via an inductor assembly comprised by
               the credit card device , the magnetic field having a target rate of
               alternating polarity , wherein the target rate of alternating polarity
                           is based on the detected movement rate




                                              FIG . 3
   Case 7:24-cv-00279-ADA    Document 1-3           Filed 11/04/24        Page 8 of 23


U.S. Patent       Oct. 20 , 2020
                         9             Sheet 5 of 7                    US 10,810,579 B2




                                         445
                                                                                 401




                                               11
                                                            boo
                                                           To




                                                                4502



                                   FIG . 4A




                                                                          470


                                                      11

                                                                        090
                                                                450b


                                   FIG . 4B
   Case 7:24-cv-00279-ADA           Document 1-3       Filed 11/04/24     Page 9 of 23


U.S. Patent         Oct. 20 , 2020
                                9             Sheet 6 of 7          US 10,810,579 B2




                                                                              590




             501




                   570




                                    FIG . 5




      601a




                                          }                        6015

                         650a




                                    FIG . 6
  Case 7:24-cv-00279-ADA         Document 1-3         Filed 11/04/24        Page 10 of 23


U.S. Patent         Oct. 20 , 2020
                             9             Sheet 7 of 7                 US 10,810,579 B2




                                                                                  701
                  receive an input signal at a credit card device from a user
               enabling operation of a near-field communication (NFC ) unit of
                                     the credit card device



                                                                                  703
               receive an indication of an amount of currency for a transaction


                                                                                  705
              generate , at the credit card device , an limited -duration credit card
                                             number




                                                                                  707
               transmit the limited - duration credit card number from the credit
                          card device to a recipient of the transaction

                                            FIG . 7
      Case 7:24-cv-00279-ADA                         Document 1-3                Filed 11/04/24             Page 11 of 23


                                                     US 10,810,579 B2
                   1                                                                                  2
   SMART TOKENIZING PAYMENT CARD AND                                    because they are incompatible with existing credit card
   DEVICE AND TRANSACTION PROCESSING                                    infrastructure, which still predominantly supports conven
      THEREOF, SYSTEM AND METHOD                                        tional plastic credit cards.
                RELATED APPLICATIONS                                5               SUMMARY OF THE INVENTION
  This is a Continuation application of co -pending, com                  This Summary is provided to introduce a selection of
monly - owned U.S. patent application Ser. No. 15 /701,261 ,            concepts in a simplified form that are further described
now U.S. Pat. No. 10,339,520 , filed Sep. 11 , 2017 , which in          below in the Detailed Description . This Summary is not
turn was a Continuation application U.S. patent application 10 intended to identify key features or essential features of the
Ser. No. 14 / 981,757 , filed Dec. 28 , 2015 , now U.S. Pat . No.       claimed subject matter, nor is it intended to be used to limit
9,760,884 , which in turn was a continuation of U.S. patent the scope of the claimed subject matter.
application Ser. No. 14 / 680,979 , filed Apr. 7 , 2015 , now U.S.       An embodiment includes a credit card device capable of
Pat . No. 9,224,083 , which in turn was a Division of U.S. generating a programmed magnetic field of alternating
patent application Ser. No. 14 /217,261 , filed Mar. 17 , 2014 , 15 polarity based on a speed of a card swipe , and methods for
now U.S. Pat . No. 9,022,286 , which in turn claims priority constructing the device for the purpose of emulating a
from Provisional Application 61 /794,891 , filed Mar. 15 , device     standard credit card . An apparatus is described to allow said
2013 , each of which are hereby incorporated herein in their                  to emulate behavior of a credit card when used in
entirety by reference.                                                electronic credit card readers. Additionally methods are
                                                                   20 described to allow user control of said device for the purpose
                 FIELD OF THE INVENTION                               of authorizing or controlling use of said device in the
                                                                      application of credit , debit and cash transactions, including
   Embodiments according the present disclosure gener cryptocurrency and card - to - card transactions. Methods are
ally relate to multi - function electronic devices or smart cards also described for generating a limited -duration credit card
and , more particularly, to systems and methods of smart 25 number when performing a transaction for the purpose of
tokenizing payment cards and devices and transaction pro              creating a limited -use credit card number, which is limited
cessing thereof.                                                      in scope of use to a predetermined number of authorized
                                                                      transactions . Furthermore said device may interact with
           BACKGROUND OF THE INVENTION                                other similar devices in proximity for the purpose of funds
                                                                   30 or credit /debit transfers.
   There are several different types of credit cards available           More specifically, an aspect of the present disclosure
in the marketplace at present. A first type of credit card is a provides an apparatus comprising: a thin card shaped sized
conventional, standard piece of plastic with a magnetic strip , body ; a memory operative to store a plurality of identifica
which is readily available and in wide commercial use . The tion data ; a processor coupled to the memory ; a user
advantage of this first type of credit card is that a large 35 interface for selecting a select identification data of said
portion of the infrastructure for credit card transactions is plurality of identification data ; a magnetic card reader detec
built around this type of card, and consequently such a card tion unit for determining if the body is adjacent to a standard
works in a wide array of vendors ' credit card machines , magnetic card reader ; and an inductor assembly coupled to
automated teller machines ( ATMs), and other devices that the processor and integrated into the body, the inductor
support the present credit card and banking infrastructure . 40 assembly under processor control for generating a magnetic
   Another type of credit card device employs the use of a field of alternating polarity responsive to the body being
smart integrated circuit chip . These types of credit cards detected as adjacent to a standard magnetic card reader, the
have a built in microprocessor with cryptographic capabili magnetic field generated in a region substantially encom
ties . These microprocessors operate in a similar manner to a passing the standard magnetic card reader, wherein the
cell phone having a chip comprising a cryptographic pro- 45 magnetic field encodes said select identification data , and
cessor. Such a smart card device requires contact with a wherein the magnetic field is operable to be read by a
reader in order to be read and to perform a transaction. The magnetic read head of the standard magnetic card reader.
reader provides the manner in which a facility interacts with            According to another aspect of the present disclosure, a
the built - in processor on the card , e.g. , for purposes of credit card device comprises: a near - field communication
performing verification on the authenticity of the card or for 50 (NFC ) unit ; a touch sensor array ; a display ; a motion rate
making a direct deposit on the card . These credit card detection array ; a memory, storing a user data and a currency
devices also comprise a magnetic strip such that they are amount ; and a processor operatively coupled to the NFC
compatible with standard plastic credit card readers in wide unit, the touch sensor array, the display, the motion rate
use .                                                                 detection array, and the memory ; and wherein the processor
   A different type of credit card device in circulation 55 initiates a card - to - card transaction between two credit card
employs radio frequency identification (“ RFID ” ). These devices by a detected proximity of a first credit card device
cards essentially have a low -power RF antenna built into the and a second credit card device and an input of information
card, and when the cardholder passes the antenna in front of by a first user via said touch sensor array, and wherein the
a reader comprising an RF field, enough power is generated card - to - card transaction comprises an exchange of stored
to enable the processor to interact wirelessly with the 60 currency
receiving device .
                                                                                  and said user data between the first credit card
                                                                      device and the second credit card device via the NFC unit.
   A concern with each of these types of credit cards                    According to yet another aspect of the present disclosure ,
presently available in the marketplace is that they can all be , a method of performing a transaction comprises: receiving
in various ways , susceptible to theft and / or compromise. an input signal at a credit card device from a user enabling
Therefore, these types of credit cards have security limita- 65 operation of a near - field communication (NFC ) unit of the
tions . Further, cards employing smart integrated circuit credit card device ; receiving an indication of an amount of
chips and RF technology are not in wide use at present currency for a transaction ; generating at said credit card
      Case 7:24-cv-00279-ADA                        Document 1-3               Filed 11/04/24             Page 12 of 23


                                                    US 10,810,579 B2
                               3                                                                    4
device a limited - duration credit card number; and transmit         desired result. The steps are those requiring physical
ting said limited - duration credit card number from said            manipulations of physical quantities. Usually, though not
credit card device to a recipient of the transaction .               necessarily, these quantities take the form of electrical or
                                                                     magnetic signals capable of being stored , transferred , com
      BRIEF DESCRIPTION OF THE DRAWINGS                       5 bined , compared, and otherwise manipulated in a computer
                                                                system . It has proven convenient at times , principally for
  Embodiments of the present disclosure are illustrated by reasons of common usage , to refer to these signals as bits ,
way of example, and not by way of limitation , in the figures
of the accompanying drawings and in which like reference values        , elements , symbols, characters, terms, numbers , or
                                                               the like .
numerals refer to similar elements .                        10
                                                                  It should be borne in mind, however, that all of these and
   FIG . 1 is an illustration depicting an exemplary interac similar
tion between a multi - function electronic device and a stan physicalterms       are to be associated with the appropriate
dard magnetic card reader, according to an embodiment of to these quantities. and
                                                                          quantities     are merely convenient labels applied
                                                                                      Unless  specifically stated otherwise as
the present disclosure.
   FIGS . 2A-2B are block diagrams illustrating data flow 15 that
                                                               apparent    from  the following   discussions   , it matter
                                                                                                                     is appreciated
between the magnetic coils on the multi- function electronic sionsthroughout
                                                                      utilizing
                                                                                  the present claimed
                                                                                terms  such as “ storing
                                                                                                        subject
                                                                                                         , " " creating ,”
                                                                                                                           , discus
                                                                                                                           “ protect
device and the microprocessor on the multi- function elec ing, ” “ receiving ,” “ encrypting ” , “ decrypting”, “ destroying       ”,
tronic device according to an embodiment of the present or the like, refer to the action and processes of a computer
disclosure.
   FIG . 2C depicts an exemplary process of selecting an 20 system or integrated circuit, or similar electronic computing
account from a plurality of stored accounts according to an device , including an embedded system , that manipulates and
embodiment of the present disclosure .                           transforms data represented as physical ( electronic ) quanti
   FIG . 3 is a flowchart illustrating an exemplary process of ties within the computer system's registers and memories
generating a magnetic field with an alternating polarity into other data similarly represented as physical quantities
according to an embodiment of the present disclosure .        25 within the computer system memories or registers or other
   FIGS . 4A - 4B illustrate a user interacting with a touch such information storage, transmission or display devices .
sensor of the multi- function electronic device , according to Encoding Via an Alternating Polarity of a Magnetic Field
an embodiment of the present disclosure.                               In one embodiment of the present disclosure , a smart
  FIG . 5 is an illustration of a multi - function electronic        credit card device comprises a dynamic magnetic region
device connected with a computing system and operating 30 (strip ) incorporating a main inductor assembly from which
according to an embodiment of the present disclosure .          programmed magnetic field data symbols are dynamically
  FIG . 6 is an illustration of two multi - function electronic generated. In one embodiment the inductor assembly may be
devices performing a transaction according to an embodi a planar coil formed within the material that embodies the
ment of the present disclosure .                                credit card . An advantage of using a planar coil is that it can
  FIG . 7 depicts an exemplary process according to an 35 dynamically produce a magnetic field in such a manner as to
embodiment of the present disclosure.                           emulate the interaction between a traditional magnetic strip
                                                                and a conventional credit card reader. As the magnetic strip
           DETAILED DESCRIPTION OF THE                          of a conventional credit card is passed through a magnetic
                        INVENTION                               reader head , stripes of alternating magnetic polarity embed
                                                                 40 ded in the strip induce a magnetic field of alternating polarity
  Reference will now be made in detail to the various                at the reader head . The pattern formed by the alternating
embodiments of the present disclosure, examples of which             polarity of the magnetic field encodes information, which
are illustrated in the accompanying drawings. While                  when transformed by a transducer to a current signal in the
described in conjunction with these embodiments, it will be          magnetic reader head , provides user information for a trans
understood that they are not intended to limit the disclosure 45 action .
to these embodiments. On the contrary , the disclosure is          Embodiments of the present disclosure provide a credit
intended to cover alternatives, modifications and equiva card device able to generate a programmed magnetic field ,
lents , which may be included within the spirit and scope of wherein data is encoded and represented by an alternating
the disclosure as defined by the appended claims . Further polarity of the generated magnetic field . In a similar manner
more, in the following detailed description of the present 50 to a conventional plastic credit card , the magnetic field
disclosure , numerous specific details are set forth in order to produced by the planar coil is able to be read by a pickup (or
provide a thorough understanding of the present disclosure. " transducer ” ) and to thereby transmit information to the
However, it will be understood that the present disclosure magnetic card reader. FIG . 1 illustrates a credit card trans
may be practiced without these specific details. In other action 100 performed between a credit card device 101 and
instances, well -known methods, procedures, components, 55 a conventional magnetic reader 150. The credit card device
and circuits have not been described in detail so as not to          101 generates a magnetic field of alternating polarity 120 to
unnecessarily obscure aspects of the present disclosure .            be read by the conventional magnetic card reader 150 ,
   Some portions of the detailed descriptions which follow           according to an embodiment of the present disclosure. The
are presented in terms of procedures, steps, logic blocks ,          credit card device 101 is moved at a rate 130 relative to a
processing, and other symbolic representations of operations 60 magnetic reader head 155 of conventional magnetic card
on data bits that can be performed on computer memory . reader 150. The magnetic field 120 extends with sufficient
These descriptions and representations are the means used distance and intensity from credit card 101 so as to be read
by those skilled in the data processing arts to most effec by magnetic head reader 155. The magnetic head reader 155
tively convey the substance of their work to others skilled in responds to the magnetic field 120 by producing a current in
the art . A procedure , computer generated step , logic block , 65 the conventional fashion, which is then interpreted as
process, etc. , is here, and generally, conceived to be a encoded information by the magnetic reader 150. Therefore
self - consistent sequence of steps or instructions leading to a the magnetic field of alternating polarity 120 produced by
      Case 7:24-cv-00279-ADA                        Document 1-3            Filed 11/04/24             Page 13 of 23


                                                     US 10,810,579 B2
                               5                                                                 6
the credit card device 101 has a substantially identical density present in conventional magnetic card strips. The
encoding effect as a traditional magnetic strip .               magnetic data symbols generated by the planar coil 220 are
   A characteristic of encoding information in a conventional produced to align with the rate at which data is being read
magnetic card strip is that binary information is encoded by by the magnetic card reader. Accordingly, it is irrelevant if
the pattern of alternating magnetic polarity formed by fer- 5 the credit card device 201? of the present disclosure is being
romagnetic stripes embedded on the magnetic strip . As the swiped quickly or slowly, the planar coil 220 is controlled by
conventional magnetic card strip has a standardized format, the processor unit 205 to produce data at a substantially
the encoding of information is provided at a specified data optimized rate, where the rate of data production is depen
density (bits per inch) , according to which conventional dent on the rate at which the credit card device 201a is
magnetic readers are designed for interpretation of encoded 10 detected to be passing across the magnetic reader head .
data. In order to most ably emulate a conventional credit          FIG . 2B depicts a credit card device 2016 according to an
card interaction with a conventional magnetic reader the embodiment of the present disclosure. Credit card device
credit card device 101 of the present disclosure is provided 201b comprises a processor 205 and a memory unit 207 , the
with a means of determining a substantially optimal rate for processor 205 operatively coupled to the components of
alternating the polarity of the generated magnetic field 120 15 credit card device 2016. The memory 207 comprises a
in order to produce data at a rate which is able to be readily plurality of accounts 209 , which may be credit card
received and correctly interpreted by the conventional mag accounts , banking accounts , merchant accounts, online
netic reader 150. Embodiments of the present disclosure accounts , cryptocurrency accounts, and combinations
provide several means of determining the relative movement thereof. A motion detection module 210 is coupled to the
rate 130 between the credit card device 101 and the magnetic 20 processor unit 205 and to a set of motion detection units ,
reader head 155. These features, as well as other character which comprise a rate detection assembly 225 , an optical
istics of the credit card device of the present disclosure , can sensor array 230 , and a set of accelerometers 235. Addition
be better appreciated by a description of the internal com       ally, a galvanic sensor 275 is coupled to processor unit 205 .
ponents and functions of credit card device 101 .                The magnetic field is generated via a planar coil 220 , which
   FIGS . 2A and 2B depict exemplary embodiments of the 25 is controlled by the processor unit 205 via a coil interface
smart credit card device , in a block diagram view . The 215. The rate at which the magnetic field changes polarity to
components of the block diagram are illustrated according to encode the user data depends on the rate of relative move
functional connections, and their locations should not be ment detected by the rate detector. The credit card device
construed as being limited to the respective locations as 2016 further comprises a real- time clock 240 , a touch - sensor
depicted in FIGS . 2A - 2B . In FIG . 2A , credit card device 30 array 245 , and a display 250 , each operatively coupled to the
201a is shown in a block diagram view. Credit card device processor unit 205. A user input may be made via the touch
201a comprises a processor 205 and a memory unit 207 , the sensor array 245 , which may comprise a touch screen panel ,
processor 205 operatively coupled to the components of a keypad , or a combination thereof. The display 250 is able
credit card device 201a . The memory 207 comprises a to display an alphanumeric sequence , as well as graphical
plurality of accounts 209 , which may be credit card 35 icons ( such as a logo for a bank , or other images ) . Further,
accounts , banking accounts, merchant accounts, online an optional backup power source 255 is depicted . Credit
accounts , cryptocurrency accounts, and combinations card device 2016 further comprises a near - field communi
thereof. A motion detection module 210 is coupled to the cation (NFC ) unit 260 , as well as a radio frequency identi
processor unit 205 and to a set of motion detection units , fication (RFID ) unit 265 , both of which are operatively
which comprise a rate detection assembly 225 , an optical 40 coupled to the processor unit 205. In one embodiment the
sensor array 230 , and a set of accelerometers 235. The NFC and RFID may share the planar coil for use as a RF
magnetic field is generated via a planar coil 220 , which is antennae, through the coil interface 215. In one embodiment
controlled by the processor unit 205 via a coil interface 215 . one or both the NFC and the RFID may have antennae
The rate at which the magnetic field changes polarity to dedicated to that individual sub -system . A universal serial
encode the user data depends on the rate of relative move- 45 bus (USB ) connector 270 is coupled to the processor unit
ment detected by the rate detector. The credit card device         205. The functionality of the components with regard to
201a further comprises a real - time clock 240 , a touch- sensor   exemplary uses of credit card devices 201a and 2016 is
array 245 , and a display 250 , each operatively coupled to the    described in greater detail in the following description .
processor unit 205. A user input may be made via the touch        A further aspect of the present disclosure provides a single
sensor array 245 , which may comprise a touch screen panel, 50 credit card device that can be used for multiple banks or
a keypad, or a combination thereof. The display 250 is able financial institutions . For example, instead of carrying a
to display an alphanumeric sequence , as well as graphical separate credit card for each account of a variety of credit
icons ( such as a logo for a bank, or other images ) . Further, card companies, a customer need only to carry a single card
an optional backup power source 255 is depicted.                according to embodiments of the present disclosure. The
   In one embodiment, the processor unit 205 is connected 55 capability of the credit card device to generate a multitude
to the planar coil 220 and the motion detection units , via the of credit card numbers provides the ability of the credit card
motion detection module 210. The processor unit 205 is device to be associated with multiple accounts . Furthermore,
responsible for determining the appropriate rate with which inputs at the touch sensor array on the credit card device can
to output data from the planar coil 220 , wherein output data be used to select the appropriate bank or credit provider
is encoded using alternating polarity of a generated magnetic 60 account stored in the memory unit of the credit card device.
field . The rate of the alternating polarity of the magnetic field FIG . 2C depicts a process of selecting an account from a
is generated in accordance with the detected movement plurality of stored accounts in order to perform a transaction
speed with which the card is swiped through the reader, in with the selected account, according to an embodiment of
order for the reader to receive the encoded data at the the present disclosure . The process 280 begins at step 282 ,
appropriate rate . Magnetic card readers, which are designed 65 where a plurality of accounts stored by the credit card device
to read conventional credit cards, are constructed to read memory is displayed . The plurality of accounts 209 are
data at specified input rates that correspond with the data stored by memory 207 , and are displayed using display 250 .
      Case 7:24-cv-00279-ADA                       Document 1-3               Filed 11/04/24             Page 14 of 23


                                                    US 10,810,579 B2
                              7                                                                    8
A user indicates an account selected from the plurality of set of accelerometers comprises groups of accelerometers ,
accounts at step 284. The selection is able to be made by each group having one or more accelerometers disposed at
keypad or touch sensor array 245 , and an indication of the orthogonal planes to each other, and each group capable of
selected account can be displayed via display 250. At step generating signals that allow for determination of the ori
286 the credit card device is configured according to account 5 entation , motion and acceleration of the credit card device
information associated with the selected account, which may 201a .
include an account number, an expiration date , and other            The detected movement signal is received by the motion
user information associated with the account ( e.g. a user detection module 210. The detected movement signal is
name , PIN , password, email address, etc. ). At step 288 the generated by any one of the set of motion detection units, or
planar coil of the credit card device is encoded with a 10 any combination of motion detection units of the set . For
limited - duration credit card number that is associated with example , the movement detection signal is able to be gen
the selected account. The limited -duration credit card num       erated by the combination of the rate detection assembly 225
ber is able to be generated according to the selected account, and the optical sensor array 230. In an embodiment, the
a timestamp, a transaction amount, an indicated merchant, movement detection module 210 is able to determine the
user key or secrets, on - card unique hardware secrets, credit 15 movement rate of the credit card device 201a from the
card authority key or secrets, user input from the card detected movement signals, and transmits the determined
interface, and other information associated with the trans movement rate , and orientation to the processor unit 205. In
action .                                                          an embodiment, the motion detection module 210 sends the
Movement Rate Feedback                                            detected movement signal to the processor unit 205 , and the
   The relative movement rate of credit card device 201a is 20 processor unit 205 determines the relative movement rate.
detected by one or more of the set of motion detection units ,       In one embodiment, the generation of the magnetic field
comprising the rate detection assembly 225 , the optical by the planar coil 220 at a specified rate of alternating
sensor array 230 , and the set of accelerometers 235. Each of polarity is accomplished according to the following descrip
the motion detection units detects the motion of the credit       tion . One or more of the motion detection units in the set of
card 201a in a distinct manner . The rate detection assembly 25 motion detection units (rate detection assembly 225 , optical
225 , which is positioned alongside ( but independent of) the sensor array 230 , and set of accelerometers 235 ) detect a
planar coil 220 , is able to detect the location of a magnetic movement rate of the credit card device 201a with respect to
head reader as the rate detection assembly 220 is being a magnetic card reader, and signal the motion detection
passed through the credit card reader. The reader module of module 210. The movement rate is provided to the processor
a conventional credit card reader comprises a metal head 30 unit 205 , which determines the appropriate rate for alternat
having a small gap at the tip of the head . A pickup armature ing the polarity of the magnetic field generated by the planar
resides in this gap , such that as the metal head passes over coil 220. The processor unit 205 outputs instructions or data
a credit card strip, an electric field is induced in the head to the coil interface 215 at the determined rate , which in an
reader pickup circuit . In one embodiment the rate detection embodiment is a digital - to -analog converter (a DAC ) and
assembly 225 is constructed of an array of auxiliary inductor 35 acts to translate the signal from digital to analog in order to
coils and magnetic pickup coils . As the metal head of the drive the planar coil 220 and produce the magnetic field . The
card reader assembly passes over the arrangement of aux           instructions from the processor unit 205 are comprise binary
iliary inductor coils and magnetic pickup coils of the rate code , which are output through a shift register to the coil
detection assembly 225 , a disturbance in the magnetic field interface 215. The shift register outputs data at a rate
flowing between the two is induced , generating a change in 40 proportional to the determined movement rate of the credit
current and producing a detected movement signal . The card device 201a_thus, a higher determined credit card
change in current is detected by the motion detection module device 201? movement rate has a corresponding higher
210 , and is used to determine the rate of motion of the card output rate at the shift register, leading to a higher rate of
reader head passing across the surface of the credit card alternating polarity at the generated magnetic field ( i.e. ,
device 201a ( and therefore along the planar coil 220 ) . 45 encoded data symbols output more quickly ). Conversely, a
   The optical sensor array 230 is also operable to detect a lower movement rate of credit card device 201? leads the
movement rate of the credit card device 201a with respect to processor unit 205 to control the shift register to output data
a conventional magnetic card reader. The optical sensor at a lower rate , and consequently the rate of alternating
array 230 is disposed nearby the planar coil 220 , in order to polarity in the generated magnetic field is lower.
accurately detect a movement rate in the region of the planar 50 FIG . 3 illustrates an exemplary process 300 for determin
coil 220. In an embodiment, the optical sensor array 230 is ing the rate to alternate the polarity of the generated mag
a thin strip parallel to , and extending along , the length of the netic field of the credit card device , according to an embodi
planar coil 220. The optical sensor array 230 determines a ment of the present disclosure . At step 301 the process
location of a minimum of received light, which corresponds determines if a standard magnetic card reader is detected to
to the region of a surface in nearest proximity to the optical 55 be in proximity with the credit card device . If NO , the step
sensor array 230. The magnetic reader head of a conven             repeats . If YES , the process moves to step 303. At step 303
tional magnetic card reader extends furthest from the surface a detection of a movement rate at which the body of the
of the card reader, and therefore the detected minimum in credit card device is moving relative to the standard mag
received light at the optical sensor array 230 corresponds netic card reader is made . The process continues at step 305 ,
with the location of the reader head. By tracking over time 60 wherein a magnetic field is generated by an inductor assem
the position of this minimum received light along the optical bly comprised by the credit card device, the magnetic field
sensor array, a detected movement rate may be found .              having a target rate of alternating polarity that is based on the
   The set of accelerometers 235 are also operable to detect detected movement rate from step 303. The process then
a movement rate of the credit card device 201a . The set of repeats at step 301 , determining if a standard magnetic card
accelerometers 235 are positioned in the credit card device 65 reader is (or remains ) in proximity to the credit card device .
201a in order to effectively measure the position and accel In this manner, while a standard magnetic card reader is
eration of the credit card device 201a . In an embodiment, the detected to be in proximity to the credit card device , the
      Case 7:24-cv-00279-ADA                       Document 1-3             Filed 11/04/24              Page 15 of 23


                                                    US 10,810,579 B2
                              9                                                              10
movement rate of the credit card device is determined and to which the user would need to respond correctly using the
the polarity and orientation of the generated magnetic field input buttons of touch sensor 445 on the card .
is alternated at the appropriate rate , to recreate the data as Limited -Duration Credit Card Number
described above, at the correct rate, in order to clock out the   A further security feature of the credit card device pro
data to be conveyed to the magnetic strip reader, at a rate 5 vided in the present disclosure is the capability of producing
matching the action of an ordinary magnetic strip card a limited -duration credit card number for performing trans
through same said magnetic card reader.                         actions using accounts of the card . The credit card device
Security                                                        comprises a real - time clock that is able to produce a cryp
   Security is an area of concern for credit card holders, as tographically protected timestamp for each interaction. The
the small form factor makes theft quite easy, and addition- 10 power source is able to activate the processor unit such that
ally there are many ways for a malicious third -party to a unique number may be generated by the credit card device
record the account number of a credit card in order to later      and verified by the credit authority according to the time
make fraudulent transactions on the account. Embodiments          stamp and the transmitted user information . The limited
of the present disclosure address security concerns of a duration credit card number is able to be produced at the
credit card owner on several fronts .                        15 time the credit card device is performing a transaction, and
  In one aspect , security of the credit card device is is able to be generated according to the user's private
enhanced by providing a means of locking the credit card information, a bank information , information regarding the
device in order to prevent use , until such time that a valid facility performing the transaction , and the time of day. The
user input is entered . Embodiments of the present disclosure     limited -duration credit card number is able to be limited to
provide a credit card device having a region for receiving 20 only one transaction , a finite number of transactions, or may
human input, e.g. , touch sensors which are able to be formed be limited to a specified period of time e.g., 2 minutes, 10
by contacts that a user can press (e.g. , the touch sensor array minutes, 3 hours — after which time that particular limited
245 of FIGS . 2A - 2B ) . FIGS . 4A - 4B illustrate a user inter duration number would become invalid . As detailed above ,
acting with a credit card device 401 via a keypad or touch if an expired limited -duration credit card is attempted to be
sensor array 445. In FIG . 4A , the credit card device 401 is 25 used for a transaction , the transaction is denied and an
in a locked state . A display 450 is able to display a message automatic notification is able to be made to a credit authority
to the user, for instance , the message " device locked " or in order to notify the user and to prevent transactions on the
“ enter password,” or question prompts which guide the user account. The transaction count is able to be determined
to respond with answers through said key -pad or said touch       through the action of passing the card through magnetic
sensor, to certain preset questions, that confirm personal 30 reader, and the process of transmitting said card number to
knowledge known only to the associated user. The touch said card reader.
sensor array 445 enables user interaction with the credit card        In one embodiment, the number on the front of the card
device 401. An exemplary use of the touch sensor array 445 is able to be a full or partial number. In an embodiment, the
is an input of a currency amount to be used in a transaction . number displayed on the credit card device is a static
The touch sensor array 445 is able to include buttons, or a 35 number, but the number transmitted during a transaction is
touch- sensitive pad , or a combination of the two . Other a limited - duration credit card number as described above.
embodiments of the touch sensor array 445 allowing a user The number displayed on the credit card device may not
to input data to the credit card device 401 are consistent with necessarily be a static number. For example, the first four
the spirit and scope of the present disclosure .                   and last four digits of the credit card number are able to be
   In order to unlock   the credit card device 401  and  enable 40 fixed , while the remaining eight digits can be dynamically
a transaction or other usage , the user inputs data via the generated. As the credit card is read by the machine , part or
touch sensor array 445. FIG . 4B illustrates the user inputting all of the number may be dynamically produced at the time
a password via a gesture 470 , which operates to unlock the       the card is read . As described above , the dynamic part of the
credit card device 401. The display 450b is able to display limited -duration credit card number generated may be based
a message indicating the credit card device 401 is unlocked 45 on the user's private information , the user's bank informa
and ready for use , for instance , display 450b may display the   tion , the time of day or the facility that is reading the card .
message “ unlocked , ” or it may display an account number        Further, the expiration date of the credit card device can also
associated with the credit card device 401 .                   be dynamically generated .
   Embodiments of the present disclosure provide additional      Effectively, embodiments of the present disclosure pro
functionality for the touch sensor array 445. For example , 50 vide a credit card device that has no fixed number, and
there may be touch contact terminals that a user can press to therefore the account cannot be compromised. Only the
wake up the credit card device 401 , to cause the battery to     number generated at the instant of the credit card transaction
supply power, or to place the credit card device 401 in a matters . Accordingly, unauthorized use of the credit card
power reduction mode when it is not being used . In an device is highly unlikely, because a transaction cannot be
embodiment, if any number other than the correct password 55 conducted with an expired limited - duration credit card num
is entered multiple times , or if there is an attempted usage of ber, or only the static portion of the credit card number. In
the credit card device 401 without entering in a password, an one embodiment of the present disclosure, sufficient
automatic phone call may be triggered to the appropriate dynamically generated numbers are provided for on the
fraud protection authorities.                                    credit card such that a unique credit card number can be
   In one embodiment of the present disclosure, the display 60 generated for each transaction . In this embodiment, the
450 is a thin - film liquid crystal display (“ LCD ” ). The credit card of the present disclosure effectively acts as a
display 450 is able to have multiple uses . In one embodi unique per - transaction credit card .
ment, the display 450 can be used to cue the user for a           In one embodiment, the process steps enabling a card
security question upon input of an improper password . Or if transaction are as follows. A credit card device (e.g. , credit
fraud protection services need to contact a customer, they 65 card device 2016) is connected to a computer system (e.g.
can verify the customer's identity by transmitting a security computer system 590 ) , via any of the connection means
question to the display 450 of user's credit card device 401 , available to the credit card device (USB 270 , NFC 260 , and
      Case 7:24-cv-00279-ADA                       Document 1-3             Filed 11/04/24            Page 16 of 23


                                                    US 10,810,579 B2
                             11                                                                12
RFID 265 ) . User data and other essential information , such 501 can uniquely generate a limited -duration credit card
as account information , are downloaded to the credit card number (as described above) for online purchases . The
device . For example, for an account designed for online credit card device 501 receives a user input indicating that
transactions, user account information will likely include an a transaction is imminent, and an authorization . The user
account email and an account password . The account may be 5 input is able to comprise a gesture, a swipe , a key input
for example a bank account, a credit account, a merchant sequence , and combinations thereof . The limited - duration
account, an online transaction account, or a cryptocurrency. credit card number is able to be displayed on the front
In one embodiment a currency amount is also downloaded ,          display of the credit card device 501. In one embodiment,
which is made accessible to the credit card device 2016 for       the credit card device 501 is able to use RFID 265 or near
transactions . In an alternative embodiment, rather than a 10 field communication NFC 260 technology in order to con
currency amount being downloaded to the credit card device nect to a personal computer 590. This enables a per-trans
2016 , the user account information ( e.g. , username and action , limited -use credit card number, enhancing the secu
password) is stored such that a subsequent authorized credit       rity of the credit account by substantially negating the
card device 2016 transaction is automatically pre -authorized possibility of a theft of the credit card number used to
to deduct (or credit) the entered transaction amount at a 15 perform the transaction leading to account compromise .
stored account. In an embodiment, a user uses the touch               According to an embodiment, the transaction is able to
sensor array 245 of the credit card device 2016 in order to include information regarding a user account, such as an
input the user information, including the amount of currency email address of the user, and upon reconnection of credit
to be stored . The information entered by the user is able to card device 2016 to a computer system ( for instance, com
include an account source of a transaction ( e.g. , bank 20 puter system 590 ) , the transaction information stored on
account, credit account, merchant account, ATM , online credit card device 2016 could be “ replayed” by the computer
payment service, or a cryptocurrency ), as well as a type of system in order to finalize the transaction .
transaction to be made ( e.g. , as a debit card, as a credit card,    In one embodiment, a means of limiting an available
or as a user account ) . In another embodiment, the informa credit amount are provided. According to the download
tion is entered using the computing system to which the 25 process described above , the credit card device is able to
credit card device 2016 is connected .                            have a total credit available . The credit card device is able
  Transactions may be authenticated on the specified              to reference the total credit available in subsequent transac
account by entry of the username and password for the             tions , and will provide limited -duration credit card numbers
account during the transaction , using the touch sensor array corresponding to amounts up to , but not exceeding, the
245. In an embodiment, a password for an account is 30 remaining credit available to the credit card device. An
represented by a user input ( such as a gesture, a swipe , attempt to perform a transaction having an amount exceed
and /or an unlock keycode) which is entered on credit card ing the remaining credit available will not result in a valid
device 2016 during a transaction for account authentication. limited - duration credit card number, and therefore an
According to an embodiment of the present disclosure, a authenticated transaction cannot proceed . In general, the
user that has “ primed ” the credit card device 2016 for a 35 credit card device will only successfully generate a limited
transaction has already performed a security authentication duration credit card number if the proper conditions for a
on the card, and therefore a subsequent card transaction is transaction are determined to be present. The proper condi
able to be pre -authorized to perform the transaction without tions for a transaction comprise a correct identification
further user authentication steps . The priming action can be having been made by the user ( via a gesture , swipe , and /or
a tap of the credit card device 2016 detected by accelerom- 40 key input) and an amount for the transaction indicated to be
eters 235 , or a gesture , swipe , or a key input received by less than the total credit available to the account indicated
touch sensor array 245 .                                       for the transaction .
   A transaction is able to be communicated using the planar Card -to - Device Transactions
coil 220. In one embodiment, when the transaction is a credit     In addition to transactions performed using conventional
card transaction , a limited -duration credit card number is 45 magnetic card readers ( such as at point -of - sale locations ,
generated. A user inputs an amount for the transaction using banks, and automated teller machines (ATMs)) and via cable
the touch sensor array 245 , and the limited - duration credit connection with a computing device , transactions performed
card number is generated to correspond with the entered wirelessly between a card and a device ( e.g. , card - to -card ,
amount . The binary data corresponding to this limited card - to -computer device having a reader dongle , card -to
duration credit card number is sent from the processor unit 50 ATM ) are provided according to embodiments of the present
205 to the coil interface 215 , where it is converted to an       disclosure . For simplicity, the following describes a card
analog signal in order to drive the planar coil 220 to generate   to - card transaction, but it will be understood that card -to
a magnetic field having an alternating polarity correspond        device transactions are similarly provided .
ing to the encoded data of the limited - duration credit card    FIG . 6 illustrates a card - to - card transaction according to
number.                                                    55 one embodiment. A first credit card device 601a comprises
Online Transactions                                           a display 650a , and is in contact with a second credit card
  FIG . 5 displays the credit card device 501 in connection device 601b . A contact interaction between the cards is
with a computing device 590. In one embodiment, the credit indicated by interaction 680. In one embodiment, the contact
card device 501 is able to be used to make online purchases. interaction is a tapping of credit card device 601a against
In one embodiment, the credit card device 501 is equipped 60 credit card device 601b . In another embodiment, an optical
with a means 570 for communicating with the USB port on sensor array at one or both of the cards detects interaction
a computer or other device in order to make online pur 680. In another embodiment, interaction 680 indicates a
chases . In one embodiment the credit card device 501 may swipe of credit card device 601a across credit card device
have an area cut - out , such that contact terminals correspond 6016. In one embodiment a user input through said key -pad
ing to a USB cable connector are contained within , enabling 65 initiates and enables a transaction from first card to second
connection of a USB cable (e.g. , a micro -USB connection ). card. In one embodiment the presence of second card in
When performing online transactions, the credit card device preparation for card to card transaction is confirmed through
        Case 7:24-cv-00279-ADA                    Document 1-3               Filed 11/04/24             Page 17 of 23


                                                   US 10,810,579 B2
                             13                                                                  14
" polling", the process of which involves transmission of is able to generate a confirmation of the received transaction
data between cards, and confirmed receipt of transmitted amount. In one embodiment, the amount indicated is pro
data by response received from second card received at first vided by the receiving card 6016. The hashed record of the
card, including information confirming receipt of said infor transaction contains the unique information of each user,
mation , by second card .                                        5 along with the transaction amount. The success or failure of
   The planar coil comprised by each of credit card device the transaction is able to be displayed on the respective
601a and credit card device 6016 is able to be a means of displays of credit cards 601a and 601b.
transferring information for a transaction, e.g. , such as an Account Theft and Unintended Use Prevention
antenna . Once either, or both , of credit card device 601a and      A security concern for conventional credit cards utilizing
credit card device 601b detect interaction 680 , a transaction 10 wireless communication means is the ability of a thief to
is able to be completed via generation of a magnetic field at access and / or copy user information through un -detected
one card and reception of the magnetic field (i.e. , reading ) at interaction with the wireless communication means . Sensi
the other card . In this manner, the card (e.g. , credit card tive and confidential information can be gleaned via , for
device 601a ) receiving the transaction information operates example , " listening -in ” on an RFID interaction between a
its planar coil in an antenna mode . This enables credit card 15 credit card and a contactless reader, recording the charac
device 601a and credit card device 601b to authentically teristics of the interaction , and replicating certain character
perform a transaction , and to transfer a currency between         istics to fake an authorized transaction . While to a great
credit card device 601a and credit card device 601b . As           extent security concerns are addressed by the usage of
described above , in an embodiment the transaction is able to      limited - duration credit card numbers and other security
use a limited -duration card number to encode the transac- 20 features provided for by the credit card of the present
tion.                                                         disclosure and previously described, a further security fea
    In an embodiment, a set of accelerometers is used to ture regarding the wireless communication means of the
detect the beginning of the transaction , for instance , a credit card device is described herein .
transaction performed by a swipe of credit card device 601a         In one embodiment, wireless communication means of
across credit card device 601b . Further, the set of acceler- 25 the credit card device 2016 are in a powered -down, or
ometers can detect a “ priming ” action for a credit card disabled , state prior to receiving an authenticated activation
device , i.e. , an indication for a credit card device that a signal from a user. Upon receiving the activation signal, the
transaction is imminent. The priming action can be a tap of communication means ( e.g. , NFC 260 , RFID 265 , and
the credit card device 601a , or tapping the credit card device planar coil 220 ) are activated , enabling the credit card device
601a against the credit card device 6016. In one embodi- 30 2016 to conduct a transaction . The activation signal can
ment, a touch sensor array is able to be used for the priming originate from one (or a combination ) of the set of motion
action .                                                         detection units ( rate detection 225 , optical sensor array 230 ,
    In an embodiment of a card - to -card transact one card and accelerometers 235 ) , the touch sensor array 245 , and the
( e.g. 601a , the card of the user having a currency debit) galvanic sensor 275. The galvanic sensor 275 is operable to
generates the limited -duration credit card number, which is 35 detect a contact of human skin , via a current produced at the
transmitted via the card's planar coil . The credit card device sensor 275 upon such contact. In an embodiment the gal
of the recipient (e.g. , 601b , the card of the user receiving a vanic sensor 275 is comprised of metallic contacts disposed
currency credit) receives the encoded data via the planar on opposite sides of, and isolated by, the body of credit card
coil , acting as an antenna, and the coil interface is able to device 2016. In one embodiment, the current produced by
convert the received signal into a digital signal understood 40 user contact with the galvanic sensor 275 contacts is suffi
by the processor to be the limited - duration credit card cient to provide small amounts of energy in order to power
number, identifying both the correct account and the amount components of the card . For example , energy produced is
of the transaction .                                             able to power the processor unit 205 and the RFID 265. In
   In one embodiment, the credit card device 2016 stores one embodiment the galvanic sensor 275 further comprises
cryptocurrency information in processor unit 205. The cryp- 45 two conducting surfaces separated by a junction , and the
tocurrency information stored is able to include a plurality of galvanic sensor 275 is configured as a thermoelectric gen
cryptocurrency addresses, a plurality of private keys, and a erator (e.g. , via the Peltier effect, the Seebeck effect, or a
plurality of public keys. The credit card device 2016 is able combination ). For example, heat applied at one surface of
to perform a transaction, as described above, using a cryp the credit card device 2016 may lead to differential heating
tocurrency as the specified account. In one embodiment, the 50 between the opposing , separated conducting surfaces of the
credit card device 2016 is able to hash a portion of the galvanic sensor 275 , generating an electric current and
transaction , using the processor unit 205 and the real - time powering a subset of, or all of, the components of credit card
clock 240 along with user information pertinent to the device 201b ( e.g. , the processor unit 205 , the NFC 260 , and
cryptocurrency account and the transaction . A subsequent the RFID 265 ) .
connection of the credit card 2015 to a computing device 55 In an embodiment, the communication means are acti
provides a means of connecting to the cryptocurrency serv         vated only so long as the activation signal continues to be
ers and finalizing the transaction . Further, the credit card detected . In another embodiment, the communication means
device 2016 is able to sign a cryptocurrency transaction by, are activated for a specified amount of time following
for instance , receiving a prompt at the display 250 to input detection of the activation signal. For example, if using the
a dynamic PIN specific to the transaction, which is able to 60 credit card device 2016 in an ATM ( or other device ) pre
be entered by touch sensor array 245 .                            venting continuous human contact, the activation signal is
   In a card - to - card cryptocurrency exchange, a record of the able to be a swipe , gesture , or key input sequence entered via
transaction can be made according to the following . A first the touch sensor array 245 , which activates the card for a
card (e.g. 601a ) making a deduction with an amount indi specified duration ( for instance , one minute ). In an embodi
cated via touch sensor array 245 is able to generate a record 65 ment the detection of motion through accelerometer input
of the transaction and store the record in the card memory,       indicates activation by a valid user. In one embodiment the
while a second card (e.g. 6016 ) receiving the cryptocurrency specific motion detected through accelerometer input corre
      Case 7:24-cv-00279-ADA                         Document 1-3            Filed 11/04/24           Page 18 of 23


                                                      US 10,810,579 B2
                               15                                                               16
sponding with a specific user action , such as a “ flick ” ,    reader module of a traditional credit card reader comprises
" swipe ", " spin " , " wave ” , “ tap , ” may be used to initiate
                                                                a metal head with a small gap on the tip of the head . This gap
activation , wherein said motion is not normally generated at is where the pickup armature resides , so that when the metal
idle and during periods of inactivity . For example said head passes over the credit card strip , an electric field is
motion not being generated accidentally while said card is 5 induced in the head reader pickup circuit . In one embodi
stored in a user's wallet , carried while the user is actively ment the auxiliary rate detection assembly is constructed of
moving , or is being handed from user to a clerk at a point of an array of auxiliary inductor coils and magnetic pickup
transaction . In one embodiment the specific motion , or coils , alongside the main coil . As the metal head of the card
sequence of motions , may be associated with a user, and reader assembly passes over the arrangement of auxiliary
stored on said card memory, such that performing the correct 10 coils and pickup circuits, a disturbance in the magnetic field
sequence when prompted can confirm the possession of the flowing between the two generates a electrical current
card by the known owner , thus initiating activation and change that is detected by a rate detection circuit so as to
enabling usage .                                                detect the rate of motion of the card reader head passing
   FIG . 7 depicts a process of selectively enabling the across the surface of the card and therefore along the main
communication capability of the credit card device accord- 15 induction assembly. The purpose of this is to allow the
ing to an embodiment of the present disclosure . The process determination of the rate or production of magnetic data
700 begins at step 701 , where an input signal is received at symbols in the main inductor assembly to align with the rate
the credit card device from a user . The input signal is able at which data is being read by the reader, according to the
to be generated by any one, or combination, of a plurality of data density of standard card magnetic strips. Accordingly,
input means , where the input means comprise: a swipe 20 it is irrelevant if the credit card of the present invention is
gesture received at a touch sensor array ; a key press being swiped fast or slow , the main inductor assembly
sequence ; an accelerometer sensor indication of credit card produces data at just the right rate depending on the rate at
device motion ; and a galvanic sensor indication that the which the card is detected it is being passed over the reader's
credit card is in a user grasp . The input received from the head .
user enables operation of a near - field communication (NFC ) 25 In one embodiment, a microprocessor is connected to the
unit of the credit card device . In one embodiment, the NFC main coil and the alignment pickups. The microprocessor is
unit is disabled prior to receiving the input signal. In one responsible for producing the data from the coil at the
embodiment, an RFID communication unit is disabled prior appropriate rate in accordance with the speed with which the
to receiving the input signal, and is activated by the input card is swiped through the reader. As shown in FIG . 1 , the
signal. In one embodiment, the planar coil is disabled prior 30 auxiliary coil detects the rate at which the credit card is
to receiving the input signal, and is activated by the input being swiped . The microprocessor then uses this informa
signal.                                                              tion to produce the data from the main planar coil at the
   The credit card evice , following enablement of the NFC           appropriate rate for the credit card reader.
unit , receives an indication of an amount ofcurrency for a        In addition , the credit card of the present invention
transaction at step 703. At step 705 , the credit card device 35 comprises a real time clock that can produce a cryptographi
generates a limited -duration credit card number, which at cally worthy timestamp for each interaction and a battery
step 707 is transmitted to a recipient of the transaction . In back up that can be used to power up the microprocessor.
one embodiment, the limited - duration credit card number Further, the card can comprise additional human inputs, e.g. ,
has a limited recurrence , and is limited in scope of use to a touch sensors which can be formed by contacts that a user
predetermined number of authorized transactions.              40 can press. For example, there can be contacts that a user can
   In the foregoing description of process 700 , the ordering press to wake up the card , to cause the battery to supply
of the process steps is exemplary and should not be con power, or to put the card to sleep when it is not being used .
strued as limiting. Alternative ordering of the process steps There can also be additional inputs to key in customer
is consistent with the present disclosure, as conceived by one specific information . For example, there can be inputs to key
skilled in the relevant art .                                 45 in a password or any other kind of unique identifier. If any
   In one embodiment of the present invention , a credit card other number besides the password is entered multiple
comprises a dynamic magnetic strip incorporating a main times , or if there is attempted usage of the card without
inductor assembly from which magnetic field data symbols entering in a password, an automatic phone call may be
are dynamically generated . In one embodiment the inductor triggered to the appropriate fraud protection authorities.
assembly may be a planar coil formed within the plastic that 50 In one embodiment, the number on the front of the card
the credit card is composed with . The advantage of using a can be a full or partial number. The number may not have to
planar coil is that it can produce the same magnetic field necessarily be a static number. For example, the first four
interaction that a traditional magnetic strip on a conventional and last four digits of the card number can be fixed while the
credit card can produce when it is passed through a reader . remaining eight can be dynamically generated. As the credit
Similar to a traditional plastic credit card, the planar coil can 55 card is read by the machine, part or all of the number may
also produce a magnetic field that can be read by a pickup be dynamically produced at the time the card is read. The
( or “ transducer ” ). The pickup produces electric current in dynamic part of the number generated may be based on the
the coil that, in turn , produces a magnetic field that is read user's private information, the user's bank information, the
by the pickup. Accordingly, the planar coil can be read in the time of day or the facility that is reading the card . Further,
same way as the magnetic strip on a traditional plastic credit 60 the expiration date of the card can also be dynamically
card . The magnetic field produced by the planar coil would generated . Effectively, a credit card can be created that has
behave identically to a traditional magnetic strip .                 no fixed number and therefore cannot be stolen . Only the
    In one embodiment, alongside the main planar coil , number generated at the instant the card is being used
auxiliary rate detection assembly independent of the main matters. Accordingly, unauthorized use of the card is nearly
inductor assembly would be provided to assist with the 65 impossible because no transaction can be conducted with
alignment of the production of data from the loop as it is only the partial static part of the credit card number. In one
being passed over the head of the credit card reader. The embodiment of the present invention, enough dynamically
       Case 7:24-cv-00279-ADA                       Document 1-3              Filed 11/04/24             Page 19 of 23


                                                     US 10,810,579 B2
                                 17                                                               18
generated numbers are provided for on the credit card such                netic - strip reader heads, passing through the magnetic
that a unique credit card number can be generated for each                field created by said inductor and detected by said
transaction . In this embodiment, the credit card of the                  pickup coil .
present invention effectively acts as a unique per transaction 5       4. A method of Claim 1 , wherein said device may incor
credit card .                                                             porate a plurality of touch sensors arranged along the
   In embodiments of the present invention comprising                    surface of said device which may ;
dynamically created credit card numbers, a single credit card            allow user input of information,
can be used for multiple banks . For example, instead of                 allow introducing a transaction specific identifier,
carrying a separate credit card for all the different credit card 10     to confirm /deny transaction information,
companies , a customer would only need to carry a single                 to operate in sequence , or with a gesture across said
card and one of the inputs on the front of the card can be                  sensor for the purpose lock /unlock or control access
                                                                            for transactions
used to select the appropriate bank or credit provider.                5. A method of Claim 4 , wherein said device contains a
   In one embodiment of the present invention , a thin film              real - time clock or counter unit which generates a
liquid crystal display ( “LCD " ) can be fitted on the card so 15        sequential parameter when the card is read by said
the credit card can have a display screen . The display can              credit card reader, and which along with certain user
have multiple uses . In one embodiment, the display can be               information, transaction identifiers, user secrets, credit
used to ask the user a security question if an improper                  card authority secrets is combined to generate a lim
password is entered . Or if the fraud protection services need           ited -use credit card number, which has a limited recur
to contact a customer, they can verify the customer's identity 20        rence, is limited in scope of use to a predetermined
by transmitting a security question to the user's credit card            number of authorized transactions
screen to which the user would then need to respond                    6. A method of Claim 5 , wherein the time , sequence , user,
correctly using the input buttons on the card .                           credit card authority and other information is similarly
   In one embodiment, the credit card of the present inven               combined by credit card processing facility to generate
tion could also be used to make online purchases. In this 25             a credit card number for comparison to the number
embodiment, the card could use RFID or near field technol                transmitted by the credit card reader, for the purposes
ogy so that it can connect to a personal computer and be used            of authenticating said number is from a recognized card
to uniquely generate a credit card number for online pur                 used in a user -authorized transaction
chases . The number could also , in one embodiment, be                 7. A method of Claim 1 , wherein said device incorporates
displayed on the front LCD of the card . In one embodiment, 30            a display allowing credit card number, time , passcodes ,
the card may also be equipped with a means for communi                    sequence codes , amounts and other credit card trans
cating with the USB port on the computer in connection with               action information to be displayed for user, merchant,
making the online purchases.                                              bank or credit card authority
Table 1                                                                8. An Apparatus for conducting credit transactions com
  What is claimed is :                                           35       prising,
   1. An apparatus for conducting credit transactions com                wherein the edge of said device contains a connector
     prising:                                                               for connection to
     a device with the similar dimensions and thickness to a             standard computing devices such as a USB interface .
          standard credit card                                         The foregoing description , for purpose of explanation, has
     an inductor assembly integrated into said device 40 been described with reference to specific embodiments.
       capable of generating a programmed magnetic field However, the illustrative discussions above are not intended
       at a location on the device where it will come into to be exhaustive or to limit the invention to the precise forms
       proximity to a standard credit card magnetic - strip disclosed . Many modifications and variations are possible in
        reader                                                   view of the above teachings. The embodiments were chosen
     the inductor assembly being operable to be read by a 45 and described in order to best explain the principles of the
        magnetic pickup of an electronic credit card reader; invention and its practical applications, to thereby enable
     at least one auxiliary rate detection units adjacent to     others skilled in the art to best utilize the invention and
        said inductor assembly, wherein said at least one various embodiments with various modifications as may be
        auxiliary detection unit is operable to detect a rate at suited to the particular use contemplated.
        which said device , including said inductor assembly, 50 Embodiments according to the invention are thus
        is passed through said electronic credit card reader ; described . While the present disclosure has been described
        and                                                      in particular embodiments, it should be appreciated that the
     a microprocessor operatively coupled to said inductor invention should not be construed as limited by such
        assembly and said at least one detection unit, embodiments, but rather construed according to the below
        wherein said microprocessor is operable to simulate 55 claims .
        magnetic - strip data fields using the inductor assem
        bly, at a rate determined from said auxiliary detection     What is claimed is :
        units .                                                     1. A method of performing a transaction , the method
  2. A method of Claim 1 , wherein the inductor assembly is comprising:
     a planar coil which is a looped inductor with dimension 60 receiving an input at an electronic device , wherein the
     roughly equal to , and along the axis of, the standard            input corresponds to a priming operation of the elec
     credit card magnetic strip                                        tronic device by an identified user and wherein the
  3. A method of Claim 1 , wherein said detection assembly             electronic device comprises:
     consists of a plurality of motion rate detection units ,          a processor; a touch screen display coupled to the
     which may comprise inductor coils and companion 65                   processor; and
     magnetic field pickup coils , each of which is able to            a near field communications (NFC ) interface coupled to
     detect the proximity of metallic objects, such as mag                the processor;
      Case 7:24-cv-00279-ADA                       Document 1-3                   Filed 11/04/24               Page 20 of 23


                                                    US 10,810,579 B2
                               19                                                                    20
     receiving a request for a transaction payment at said               performing payment transactions by the electronic device
        electronic device via the NFC interface ;                          including the limited -use number ;
     displaying, on the touch - screen display, images of:               combining the limited -use number and said device
     a card issuer payment method selection , including a last              account number within a device generated payment
        4 - digit partial number of a card issuer supplied 5                information; and
       account number of a payment card;                                 conveying said device generated payment information, in
     a card logo ; and                                                      place of card issuer information , when the device is
    other iconography of the payment card ;                                 performing payment transactions .
  generating, by the processor, a limited- use payment infor 10          5. The method of claim 1 , further comprising:
    mation , and using said limited- use payment informa                 generating a limited -use security number for use in place
     tion in place of said card issuer supplied payment                     of a card issuer card security code by cryptographically
     information ;                                                          combining information from at least one of a set of
  transmitting said limited -use payment information from                   information comprising:
                                                                         user information ;
     said electronic device to an NFC recipient of the 15                an internet address;
     transaction via said NFC interface; and                             an email address ;
  visually conveying a status of said transaction via a                  a device transaction sequence counter ;
     user - interface displayed on said touch - screen display.          a device account number;
   2. The method of claim 1 , wherein the generating the                 device identifiers;
limited - use payment information utilizes at least one infor- 20        device secrets;
mation from a set of information comprising:                             device keys ;
   a device transaction sequence counter ;                               issuer secrets;
   a device account number; device secret keys ;                         issuer keys;
  card issuer keys;                                                      a payment card account number ;
  merchant information ;                                       25        a payment card security code ;
  NFC recipient information ;                                            a time ;
  payment reader information ;                                           an expiration date ;
  a time ;                                                               an amount;
  a timestamp;                                                           a merchant locality ;
  an amount;                                                      30     transaction information; and
  a location ;                                                           displaying the limited -use security number on the user
  an online location ;                                                      interface of the display.
  transaction information ;                                              6. The method of claim 1 , wherein a payment processing
  payment information ;                                                authority verifies a limited -use number based on at least one
  device information ;                                            35 information of the set of information comprising:
  user information ;                                                      a transaction sequence count information ;
  an email address; and                                                   a device account number;
  a user identification entry .                                          user account information ;
  3. The method of claim 1 , further comprising:                         issuer secrets;
  dynamically generating a cryptogram number for use by 40               issuer keys;
    the electronic device in place of a card validation value            issuer -provided device keys;
    originated from the card issuer, and wherein the                     transaction information ; and
    dynamically generating the cryptogram number com                     a time of use , and further comprising:
     prises cryptographically combining a device transac                 authorizing said transaction , by the payment processing
     tion sequence counter count and at least one informa- 45               authority, responsive to verifying a valid limited -use
     tion of a set of information comprising:                               number appearing in place of card issuer information;
  a device account number;                                                  and
  device identifiers;                                                    rejecting a limited -use number, by the payment process
  device secrets ;                                                          ing authority, on at least one unverifiable condition , of
  device keys;                                                    50        a set of unverifiable conditions comprising:
  payment issuer secrets;                                                an invalid number generation ;
  payment issuer keys;                                                   an invalid device account number;
  user information ;                                                     a use outside of a valid time window ;
  a time ; and                                                           an invalid re -use of a limited - use number; and
  transaction information , and                                   55      an invalid use of an expired limited -duration number.
wherein further, said dynamically generating the cryptogram               7. The method of claim 1 , wherein the receiving an input
number results in a one -time limited- use number via the              at an electronic device comprises receiving an input via a
device incrementing said device transaction sequence coun              user interface from one of the set of user interfaces com
ter count on a transaction .                                           prising:
  4. The method of claim 1 , wherein a limited- use number 60            a device button ;
comprises a device account number,                                       a device touch - screen interface ;
  and wherein the device account number is of a limited                  a device touch ID button interface;
     time -duration of valid use , and wherein further a card            a device optical sensor array ;
     issuing authority provides said device account number               a device skin touch sensor;
     for use only by the electronic device, in place of card 65          a skin - contact sensor;
     issuer information in performing payment transactions               a device motion detection interface ;
     by the electronic device, and further comprising :                  a device biometric sensor interface ; and
      Case 7:24-cv-00279-ADA                       Document 1-3                   Filed 11/04/24             Page 21 of 23


                                                    US 10,810,579 B2
                                21                                                                   22
  a device user - interface selection .                                   a payment card network icon ;
  8. The method of claim 1 , wherein the priming operation                the last 4 - digits of the primary account number;
comprises one operation of the set of operations comprising:              the last 4 - digits of the device account number ; and
  a button press ;                                                        other payment iconography ; and
  a touch ID button press;                                         5
                                                                          receiving a user input of at least one user action, from a
  a button double -press;                                                    set of actions comprising:
  a touch ID sensor touch ;                                               a payment method selection;
  a touch - screen touch ;                                                a payment approval authorization ;
  a touch -input sequence ;                                               a payment denial; and
  a gesture or swipe over a sensor - array ;                       10
                                                                          an adjustment of a transaction payment.
  a skin -contact sense ;                                                 10. The method of claim 1 , further comprising:
  an optical - sensor array sense ;                                       activating an NFC communication for a limited duration
  an electronic device tap ;                                                 of time responsive to the electronic device priming; and
  a sequence of motions of the electronic device;                     responsive to the preset duration being exceeded , termi
  a user - interface selection of a payment method ; and        15
  a user -interface selection initiating a payment -operation ;          nating the NFC communications and aborting the trans
     and ,                                                               action .
  further comprising enabling the electronic device for               11. The method of claim 1 , further comprising completing
    payment via successfully completing at least one of a the transaction on the electronic device, wherein the com
     set of user - validations comprising:                      20 pleting further comprises :
  a touching from an identified valid user ;                              receiving an authorization input on the electronic device
  a user entry of a valid passcode ;                                         from a valid device user, in response to at least one of
  a user entry of a valid PIN ;                                              a set of exceptional conditions comprising:
  swiping of a recognized user skin over a device sensor                  the electronic device leaving the proximity of the NFC
    array ;                                              25                  recipient;
  a correct user swiping or gesturing on the electronic                   the incomplete identifying of a valid device user ;
     device;                                                              the electronic device leaving the user's possession;
  a correct sequence of user taps on the electronic device ;              the electronic device leaving the proximity contact of the
  a correct user sequence of user motioning of the electronic                user ;
     device ;                                                 30
                                                                          the electronic device leaving the grasp of the user ;
  a skin - contact sensing of an identified user ;                        a biometric sensing the electronic device leaving the
  a device biometric sensing of a valid user identity; and                   possession of a user since a last user validation;
  a device biometric sensing the electronic device is con                 the transaction exceeding a pre - set amount limit ;
     tinuously remaining in the proximity possession of a
     valid user.                                                   35     the transaction interval exceeding a pre - set time duration ;
   9. The method of claim 1 , further comprising :                        a card issuing authority requesting a security check ; and
obtaining , by the electronic device , a user payment approval ,          presenting the user with at least one of a set of selectable
through at least one device user interface of a set of                       options comprising: requesting a transaction payment;
interfaces comprising:                                                    continuing with the default payment method ;
  a device display interface ;                                  40        selecting an alternate payment account;
  a device touch - screen display interface;                              inputting an approval authorization;
  a device touch interface;                                               inputting a transaction denial; and
  device input buttons;                                                   inputting an adjustment of the transaction payment.
  device key -pad inputs,                                                 12. The method of claim 1 , further comprising:
  a device optical sensor array ;                               45        subsequent to the priming operation , offering a user
  a device motion detection unit;                                            selection of payment options for user input selection by
  a device accelerometer;                                                    presenting a selection of payment options in graphical
  a device biometric user - sensor , and                                     format on said touch - screen display, including at least
  a device biometric sensing the electronic device is con                    one of:
    tinuously remaining in the proximity contact of a valid 50            a last four digits of a payment account number portion;
    user; and                                                             a last four digits of a device account number portion ;
  displaying, on the display, at least one information of a set           an expiration date ;
     of information comprising:                                           a card issuer icon ;
  a priming status of the electronic device for payment;                  a bank logo ;
  a default payment method;                                     55        a card processing network logo ;
  a plurality of selectable payment accounts ;                            a card image ;
  a payment request;                                                      a card payment network icon ;
  transaction information ;                                               graphical images associated with the payment account;
  a payment amount;                                                       accepting a user input selection of a payment option , from
  a merchant identification ;                                      60       said payment options , via said touch - screen display;
  a time;                                                                   and
  an expiration date;                                                     proceeding with a default payment option in said device
  a location ;                                                              payment transaction responsive to a user not selecting
  an account balance;                                                        any of said payment options .
  a payment bank logo ;                                            65     13. A method of claim 1 , wherein the priming operation
  a card image;                                                         comprises:
  a payment card issuer icon ;                                            a button double press ; and
      Case 7:24-cv-00279-ADA                       Document 1-3             Filed 11/04/24               Page 22 of 23


                                                    US 10,810,579 B2
                             23                                                                   24
  a biometric sense of the device continuously remaining in             merchant information ;
     the proximity contact of a valid user , since a last               a time;
     validation; and further comprising:                                a location of the transaction ;
  denying the priming operation for payment when the                    a payment bank logo ;
     electronic device is not sensed as being continuously 5            a card issuer icon ;
     within the proximity contact of a valid user, until after          a payment card image;
     successfully re -validating a user ; and wherein re -vali          an amount; and
     dating a user requires a correct user passcode re -entry ;      receiving a user input providing for at least one transac
  disabling a device priming operation on further button                tion action , from a set of actions comprising:
     pressing;                                                  10      approving a transaction ;
  disabling a payment priming operation after the expiration            denying a transaction ; and
     of a pre -set time duration from a successful priming              adjusting a transaction .
     action; and                                                     16. The method of claim 15 , further comprising:
  disabling a device priming operation responsive to com             visually conveying on the touch - screen display user
     pleting a transaction .                                  15        interface , information regarding the transaction , includ
   14. A method of claim 1 , wherein the priming operation              ing at least one of:
is input after at least one of: a biometric sense of a touch         a payment amount requested ;
contact of a valid user's skin on a touch ID button of the              an indication requesting an authorization input;
electronic device, and validating a user passcode entry on             an indication of an authorization success ;
the touch - screen display of the electronic device ;         20       an indication of an authorization failure ;
   disabling a device priming operation on further button               an option to retry a transaction ;
     pressing;                                                          an option to retry a user authorization ;
   disabling a payment priming operation after the expiration           an option to retry validating a user identity;
     of a pre - set time duration from a successful priming             an indication of a payment successfully completed;
     action; and                                               25       an indication of a payment failure ; and
  disabling a device priming operation responsive to com                an indication of a payment retry option .
    pleting a transaction .                                          17. The method of claim 15 , further comprising :
  15. A method of performing a transaction , the method              visually presenting on the touch - screen display user
comprising :                                                            interface, a plurality of payment options , including at
  receiving an input signal at an electronic device, the input 30       least one of a set of payment method information for
     signal corresponding to a request for payment of a                 each payment option , the set comprising:
     transaction at said electronic device, via a recipient          a card image ;
     proximity communication request an NFC interface                   a payment issuer logo ;
     of the electronic device;                                          partial payment account numbers ;
  displaying a summary of selectable payment account 35                 a card payment network icon ;
    options at a touch - screen display user - interface of the         a graphical image - encoding of a users payment account
    electronic device;                                                     information ;
  receiving, from a valid device user, a payment selection              an amount of currency ;
     and approval authorization input on the electronic                 an account balance ;
     device ;                                           40             a credit limit ;
  generating a limited -use number at said electronic device ,         an amount of remaining credit;
     and using said limited - use number in place of at least          an amount of cryptocurrency ;
     a portion of selected account issuer payment informa              a cryptocurrency server network ; and
     tion ; and                                                      receiving a user - selection of a payment method for a
  transmitting said limited -use number from said electronic 45         transaction via said touch - screen display user - interface .
     device to a transaction recipient via the NFC interface ;       18. The method of claim 15 , further comprising :
  obtaining a user payment approval through at least one             receiving a priming operation at the electronic device for
    user - interface of the electronic device, of a set of              priming the electronic device for imminent payment,
    user - interfaces comprising:                                       wherein the priming operation causes the electronic
     a touch - screen interface of the touch - screen display 50        device to successfully identify the user through com
       user - interface;                                                pleting at least one user -validation , of a set of user
     a touch ID button ;                                               validations comprising :
     input buttons;                                        a touching of the device by an identified user ;
     a touch key - pad ;                                   a user entry of a valid passcode ;
     an optical sensor array;                           55 a user entry of a valid PIN ;
     a sensor array operable to recognize a swiping of a a swiping of a recognized user skin over a sensor array of the
        recognized user skin over the sensor array;        electronic device;
     a motion detection unit ;                             a correct user swiping or gesturing on a touch sensor array
     an accelerometer;                                       of the electronic device;
     a biometric user - sensor;                           60 a correct sequence of user taps on the electronic device ;
  a device biometric sensor operable to determine the a correct user sequence of user motions of the electronic
    electronic device continuously remains in contact with device;
    a valid user while the electronic device is coming a skin -contact sense of a valid user ; and
    within proximity contact of an NFC recipient;              a device biometric recognition of a valid user .
  displaying on said display at least one of a set of infor- 65 19. An electronic device comprising :
     mation comprising:                                              at least one processor;
     transaction information;                                        a memory coupled to the at least one processor;
      Case 7:24-cv-00279-ADA                     Document 1-3               Filed 11/04/24            Page 23 of 23


                                                  US 10,810,579 B2
                             25                                                                26
  a display operable to present a visual user -interface com         wherein the generating a limited -use payment information
      prising device inputs ; display output;                         comprises the processor generating said limited -use
   a device input;                                                   payment information by combining said static device
   an NFC interface operable to receive a transaction request 5       specific device account number, said device account
      when in proximity to an NFC recipient;                          expiration date,
   wherein the processor is operable to execute a program to       when said issuer payment account method is selected .
      implement a method comprising:                               22. The electronic device of claim 19 , wherein the
   accepting a priming action of the electronic device by an memory        is accessible to the processor, and wherein said
      identified device user, from the device input;
   enabling the electronic device for imminent performance 10 a static device:- specific device account information
                                                                memory     comprises
      of a payment operation responsive to the priming action         including a device account number of limited -use ;
      of a valid user;                                             and   keys, wherein said device -specific device account
   displaying a summary of selectable payment account                 information originates from a card issuing authority
      options on the display ;
  receiving a payment selection and approval authorization 15         and is for limited - use by the specific electronic device
      from a valid device user via the device input; and              only ;
   responsive to receiving an NFC transaction payment              and wherein said static device - specific device account
     request, generating a limited- use payment information           information is valid for a limited duration , and wherein
      for use in place of card issuer payment information ,           the generating a limited- use payment information com
   wherein the NFC interface is operable to transmit said 20         prises the processor generating a one -time limited -use
     payment information from said electronic device to the           cryptogram number and combining said limited -use
      NFC recipient of the transaction ; and                          static device account information and said one - time use
   wherein further the processor is operable to cause the             cryptogram number to produce the limited -use pay
      display to visually convey a status of the transaction .       ment information .
   20. The electronic device of claim 19 , wherein the method 25 23. The electronic device of claim 19 further comprising
further comprises :                                             a cryptographic processor operable to dynamically generate
  receiving the priming action of a valid user via the device a one -time limited - use cryptogram number by cryptographi
      input, wherein the device input comprises at least one cally combining of at least one information accessible on the
      of a set of device inputs comprising:                     electronic device , selected from a set comprising:
  a button ;                                                   30
                                                                     a sequence counter;
  a touch ID button ;                                                a device account number;
  a touch sensor array ;                                             a device secret;
  a touch key -pad;                                                  device keys ;
  a motion detection unit;                                          card issuer keys;
  an accelerometer;                                            35
                                                                    a time;
  an optical sensor array ; and                                   an amount;
  identifying a valid device user through an input detection ,    an expiration date ;
     selected from at least one of a set comprising:              a card security code;
  a correct passcode entry sequence :                             a location ;
  a touch ID recognition of a known user ;                     40
                                                                  merchant   information ;
  a biometric recognition of a valid user;                        NFC   recipient information ;
  a biometric sensing of a valid users skin ;                     payment reader information;
  a biometric detection that the electronic device continu
     ously remains in contact with a valid user ; and             an online location ;
                                                                  transaction information;
  receiving a correct user response input, from a security 45 payment
     challenge presented on the display.                                    information ;
  21. The electronic device of claim 19 , wherein the             device information ;
memory is accessible to the processor,                            user information ;
  wherein said memory comprises a static device - specific        an email address;
     device account number of limited -use that originates 50 aa user    identification entry ;
                                                                    hash of transaction information;
     from a card issuing authority and is limited to use by       and a hashed record of transactions, and
     the electronic device in place of a card issuer account wherein     said cryptogram number is operable to be used in
     information ,
  wherein further said static device -specific device account place   of at least a portion of a card issuer payment infor
     number has an expiration date of limited duration of 55 mation , in a payment transaction .
     validity, and
